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 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                           §
                                                   §
versus                                             §   CASE NO.1:17CR40-2
                                                   §
JASON GENE LECKELT                                 §


     MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for

the administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his

findings of fact and report and recommendation on the defendant’s guilty plea. The magistrate

judge recommended that the Court accept defendant’s guilty plea. He further recommended that

the Court finally adjudge defendant as guilty on Count One of the Indictment. The parties have

not objected to the magistrate judge’s findings.

         The Court accepts the findings in the report and recommendation. The Court ORDERS

that Judge Giblin’s report (#57) is adopted. The Court accepts the defendant’s guilty plea but

defers acceptance of the plea agreement and plea agreement addendum until after review of the

presentence report. It is finally ORDERED that defendant, Jason Gene Leckelt, is adjudged guilty

on Count One of the Indictment charging a violation of Title 18, United States Code, Section 371.



     So ORDERED and SIGNED this 21st day of September, 2017.
